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                16
                17                               UNITED STATES DISTRICT COURT
                18                              CENTRAL DISTRICT OF CALIFORNIA
                19
                20      MARCELLUS MCMILLIAN,                    Case No.: 2:19-cv-2121-MWF(JCx)
                21                              Plaintiffs,     Honorable Michael W. Fitzgerald
                22                        vs.                   DEFENDANTS’ OPPOSITION TO
                                                                PLAINTIFF’S MOTION IN
                23      GOLDEN STATE FC LLC, AMAZON             LIMINE NO. 3 TO EXCLUDE
                        FULFILLMENT SERVICES, INC.,             REFERENCES TO AND
                24      AMAZON.COM SERVICES, INC.,              TESTIMONY OF ANY LEGAL
                        AMAZON.COM, INC., and DOES 1 to         CONCLUSIONS FROM
                25      100, inclusive,                         DEFENDANTS’ EXPERT
                                                                WILLIAM SKILLING
                26                              Defendants.
                27
                28
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 BOCKIUS LLP                                                                DEFENDANTS’ OPPOSITION TO
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   COSTA MESA
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                    1                     MEMORANDUM OF POINTS AND AUTHORITIES
                    2   I.       INTRODUCTION
                    3            The Court should deny Plaintiff Marcellus McMillian’s (“Plaintiff”) motion
                    4   to preclude vocational rehabilitation expert William Skilling from providing
                    5   evidence at trial that other positions available to Plaintiff were “substantially
                    6   similar” to Plaintiff’s prior position. Defendants Golden State FC LLC, Amazon
                    7   Fulfillment Services, Inc., Amazon.com Services, Inc., and Amazon.com, Inc.’s
                    8   (collectively, “Defendants”) intend to introduce Mr. Skilling’s expert testimony in
                    9   support of the affirmative defense that Plaintiff failed to mitigate his damages.
                10               The Court should not even consider Plaintiff’s motion because it was
                11      untimely filed after the deadline set for filing all motions in limine. Although the
                12      Court allowed Plaintiff to explain why the motion was untimely filed before the
                13      Court would consider it, the explanation Plaintiff gave was provably false. Plaintiff
                14      represented that he had always intended to file the motion on time but did not
                15      realize until later that it was not due to an “oversight.” His counsel’s own sworn
                16      declaration submitted with the late motion, however, admitted that she did not
                17      review the “evidence and testimony” that is the subject of the motion until weeks
                18      after the deadline had passed. As this opposition is Defendants’ first opportunity to
                19      comment on Plaintiff’s proffered explanation, Defendants submit that it is unfair to
                20      excuse Plaintiff’s late filing by virtue of Plaintiff falsely claiming inadvertent error.
                21               Even if the Court does consider the motion, it should still be denied on the
                22      merits. The Federal Rules of Evidence permit a witness, including an expert, to
                23      give opinion testimony even if it “embraces an ultimate issue.” FRE 704(a). The
                24      Ninth Circuit has further held that a witness may use common terms that appear in
                25      the applicable legal standard and is not giving an improper legal opinion simply
                26      because the legal standard also uses those terms according to their common
                27      parlance. Here, “substantially similar” is a common phrase and the legal meaning
                28      of those words is no different from their ordinary meaning. Moreover, that phrase
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                    1   was not even Mr. Skilling’s chosen term in his report or in his testimony. Rather,
                    2   Mr. Skilling stated that other positions were “comparable” to Plaintiff’s position,
                    3   and only used the term “substantially similar” when Plaintiff’s counsel pressed him
                    4   to do so. Mr. Skilling should nonetheless not be prohibited from using any
                    5   common terms in his testimony simply because those words also appear in the
                    6   applicable legal standard. Furthermore, to the extent Plaintiff takes issue with the
                    7   adequacy of Mr. Skilling’s analysis and the basis for his opinions, those issues are
                    8   properly reserved for cross-examination, and are not a reason to exclude otherwise
                    9   proper testimony.
                10               For these reasons, the Court should deny Plaintiff’s untimely Motion in
                11      Limine No. 3.
                12      II.      RELEVANT FACTUAL BACKGROUND
                13               A.       Plaintiff’s Allegations and William Skilling’s Designation as an
                                          Expert Witness.
                14
                                 Plaintiff alleges that Defendants unlawfully terminated his employment as a
                15
                        fulfillment center employee while he was recovering from injuries sustained in a
                16
                        non-work-related car accident. Compl. ¶¶ 39-45, 79-95, 150-162. He seeks
                17
                        economic damages that include “lost past and future income and employment
                18
                        benefits” and compensation for “damage to his career” as a result of the allegedly
                19
                        unlawful termination of his employment. Id. ¶ 34.
                20
                                 On January 6, 2020, Defendants served Plaintiff with their initial expert
                21
                        disclosures identifying Mr. Skilling as an expert on Plaintiff’s employability and
                22
                        earning capacity following the termination of his employment in 2018. Grodan
                23
                        Dec. ¶ 4, Ex. A. Plaintiff took Mr. Skilling’s deposition on April 14, 2020, where
                24
                        he testified about his expert opinions. Dkt. No. 121 at 26- 41.
                25
                                 B.       Plaintiff Files Two Motions in Limine And References Only Those
                26                        Motions in the Simultaneously Filed Memorandum of Contentions
                                          of Fact and Law.
                27
                                 The Parties held an initial Rule 16-2 conference in the evening of November
                28
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                    1   30, 2021, to accommodate the then trial schedule of Plaintiff’s counsel. Grodan
                    2   Dec. ¶ 3. During that conference, the Parties agreed to hold additional subsequent
                    3   conferences around Plaintiff’s counsel’s trial schedule so that they could continue
                    4   to discuss open issues in advance of the due dates for pretrial filings. Id.
                    5            Per the Court’s governing scheduling order, all motions in limine were due
                    6   on December 13, 2021. On December 10, Plaintiff sent a letter to Defendants
                    7   identifying for the first time the subject matter of his anticipated motions in limine,
                    8   and identified only one such topic. Id. ¶ 5, Ex. B (identifying the intent to file
                    9   motion in limine to exclude “Any reference to any claims regarding plaintiff’s car
                10      accident.”). Later that evening, Plaintiff sent a second letter to Defendants
                11      identifying one more topic, again for the first time, for a motion in limine. Id. ¶ 6,
                12      Ex. C (identifying the intent to file a motion in limine to exclude witnesses who
                13      allegedly were not properly disclosed). Plaintiff sent no additional meet and confer
                14      letters identifying any other potential motions in limine other than the two motions
                15      referenced above. Id. ¶ 7.
                16               On December 13, 2021, Plaintiff filed both motions in limine identified in
                17      Plaintiff’s correspondence.1 Plaintiff also filed a memorandum of contentions of
                18      fact and law later that evening in which he identified only the motions in limine that
                19      he had filed earlier that evening as anticipated evidentiary issues. Dkt. 89 at 79:14-
                20      17. At no time prior to or on this filing deadline did Plaintiff ever demonstrate an
                21      intent to file a motion in limine to exclude any testimony provided by Mr. Skilling.
                22               C.       Plaintiff’s First Excuse for the Untimely Filing of Motion in
                                          Limine No. 3.
                23
                                 In the afternoon on December 30, 2021, more than two weeks after the
                24
                        deadline for filing motions in limine set by the Court, Plaintiff sent Defendants a
                25
                        third “meet and confer” letter identifying for the first time the intent to file a third
                26
                27      1
                          Shortly before filing the motions on December 13, Plaintiff indicated by email
                28      that Motion in Limine No. 2 would also request exclusion of certain exhibits.
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                        Grodan Dec. ¶ 8, Ex. D.
 BOCKIUS LLP                                                                         DEFENDANTS’ OPPOSITION TO
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                                                                     3         PLAINTIFF’S MOTION IN LIMINE NO. 3
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                    1   motion in limine to exclude testimony of Mr. Skilling. Grodan Dec. ¶ 9, Ex. E.
                    2   Plaintiff initially required a response by the close of business within the next couple
                    3   of hours but, given the holiday weekend, Plaintiff agreed to allow Defendants until
                    4   the following Monday to consider Plaintiff’s request to stipulate to exclusion. Id.
                    5   On Monday afternoon, Defendants confirmed that they disputed the basis for
                    6   Plaintiff’s late motion, and Plaintiff filed it later that day. Dkt. No. 121.
                    7            In support of the motion and to address the late filing, Plaintiff’s counsel
                    8   submitted a declaration stating that she sent the meet and confer letter identifying
                    9   this third motion in limine “the same day the issue in this motion came to my
                10      attention.” Dkt. No. 121 at 10, ¶ 5 (emphasis added); see also Dkt. No. 121 at 8:6-9
                11      (“This evidence and testimony came to McMillian’s attention after motions in
                12      limine had originally been filed.”). The declaration did not explain why deposition
                13      testimony taken almost two years earlier had not come to Plaintiff’s attention until a
                14      little over a month before the trial date and weeks after the deadline for filing
                15      motions in limine.
                16               D.       Plaintiff Provides an Inconsistent Second Excuse for the Untimely
                                          Filing of Motion in Limine No. 3.
                17
                18               On January 5, 2022, the Court issued its Scheduling Notice and Order
                19      vacating the final pretrial conference and the trial date. Dkt. No. 122. Addressing
                20      the late-filed motion in limine, the Court stated:
                21                        Defendants do not need to file Opposition to Plaintiff’s untimely filed
                                          Motion in Limine No. 3 [121] (“MIL”) which was due on 12/13/2021.
                22                        Plaintiff should submit an explanation of no more than one page
                                          explaining why the MIL was untimely filed and how it will be useful
                23                        to the Court no later than 1/14/2022.
                24      Id.
                25               On January 14, 2022, Plaintiff filed the explanation as this Court had
                26      requested. Plaintiff’s explanation, however, was different from what had been
                27      stated in the sworn declaration from counsel accompanying the motion. After
                28      previously attesting that the substantive issues raised in the motion had not come
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                    1   Plaintiff’s attention until after the deadline for filing motions in limine had passed,
                    2   Plaintiff now asserted that “Plaintiff intended to file this MIL ever since Skilling
                    3   was deposed and gave his opinion on these matters without foundation, and reached
                    4   improper legal conclusions.” Dkt. No. 124. The reason the motion had not been
                    5   filed on time, Plaintiff now claimed, was due to an inadvertent oversight that did
                    6   not come to Plaintiff’s attention until December 30 while reviewing the case file
                    7   and noticing the motion had not been filed as planned on December 13. Id.
                    8            After reviewing this explanation, the Court accepted the untimely motion and
                    9   ordered Defendants to file this response. Dkt. No. 127.
                10      III.     ARGUMENT
                11               A.       Plaintiff Relied on Misrepresentation to the Court to Avoid Denial
                                          of This Motion as Untimely.
                12
                13               Plaintiff’s attempt to blame the late filing of Motion in Limine No. 3 on an
                14      inadvertent filing error that was not discovered until December 30 lacks credibility.
                15      Before the Court requested an explanation for the late filing, Plaintiff admitted that
                16      Plaintiff had not decided to file the motion until after the deadline had already
                17      passed, suggesting that this motion is simply a late strategy decision that would
                18      have and should have been precluded by the Court’s filing deadline.
                19               If, as Plaintiff now contends, Plaintiff had “intended to file this MIL ever
                20      since Skilling was deposed” in April 2020, then Defendants would have received a
                21      “meet and confer” letter on December 10, 2021, identifying this motion just as
                22      Plaintiff sent separate letters for the other two motions that were timely filed by the
                23      deadline. Indeed, Plaintiff’s counsel sent the letter identifying the subject matter of
                24      Motion in Limine No. 2 late in the evening on a Friday, after Defendants had
                25      already received a meet and confer letter earlier in the day during business hours
                26      identifying only one motion in limine to be filed. If Plaintiff had intended to file
                27      this Motion by the deadline as well, Plaintiff would have prepared a third meet and
                28      confer letter and sent that at the same time Plaintiff realized that Defendants had
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                    1   only received a meet and confer letter for Motion in Limine No. 1 earlier in the day.
                    2            In addition, Plaintiff’s Memorandum of Contentions of Fact and Law, due on
                    3   the same day as the motions in limine, only identified topics addressed in Motions
                    4   in Limine Nos. 1 and 2 without demonstrating any intent to file a motion to exclude
                    5   the testimony of Mr. Skilling. Again, were the untimely filing of Motion in Limine
                    6   No. 3 simply a late discovered inadvertent filing error, then Plaintiff’s
                    7   Memorandum of Contentions of Fact and Law would have referenced the unfiled
                    8   motion. It does not.
                    9            Lastly, Plaintiff could have disclosed the supposed filing oversight when
                10      Plaintiff first attempted to file Motion in Limine No. 3 on January 3 (or raised the
                11      oversight to Defendants when Plaintiff first notified Defendants on December 30 of
                12      the intent to file an untimely third motion). Instead, in a sworn declaration
                13      supporting Motion in Limine No. 3, Plaintiff’s counsel attested that “the issues in
                14      this motion” – not the failure to file the motion – had not come to her attention until
                15      after the filing deadline. This is inconsistent with Plaintiff’s later assertion to the
                16      Court that Plaintiff intended to raise the “issues in this motion” since the Skilling
                17      deposition was held on April 14, 2020 (twenty months earlier), but the motion had
                18      not been filed when due on December 13, 2021, because of an unexplained
                19      “oversight” that did not come to Plaintiff’s attention until December 30.
                20               Fundamental fairness requires that the Court not accept Plaintiff’s
                21      implausible explanation given the above facts. After the December 13 filing
                22      deadline passed, Defendants ceased considering other potential topics for motions
                23      in limine with the understanding that the opportunity for doing so had lapsed.
                24      Plaintiff clearly did not do the same. While the Court should show leniency where
                25      there is good cause for missing a deadline, the standard for good cause should be
                26      higher than what Plaintiff has offered. The Court’s filing deadlines should not be
                27      so easily circumvented without any evidence supporting the alleged intent to have
                28      filed the motion earlier. Allowing Plaintiff to submit a late filing based on a flimsy
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                    1   excuse that does not stand up to scrutiny puts a party that followed the rules at a
                    2   disadvantage against a party that does not.
                    3            Lastly, the Court should not reward Plaintiff’s hypocrisy. Earlier in this
                    4   litigation, Plaintiff filed an ex parte application without following the notice
                    5   requirements prescribed by the local rules. Dkt. No. 53. Defendants had only 24
                    6   hours per this Court’s rules to respond to the application, which contained
                    7   voluminous exhibits. Anticipating in advance that Defendants would likely need
                    8   additional time to prepare its response, Defendants filed a notice of its intent to
                    9   oppose the application within 24 hours, and then filed the opposition later in the
                10      day but after the 24-hour cut-off. Dkt. Nos. 54, 55. Plaintiff filed an objection to
                11      Defendants’ opposition, accusing Defendants of gamesmanship and of “evading
                12      requirements of the law and this Court and by filing an untimely opposition
                13      knowing they have missed their deadline . . . .” Dkt. No. 56 at 3:11-14. In denying
                14      the ex parte application, the Court held that Plaintiff’s objection was “not well-
                15      taken under these circumstances,” citing Plaintiff’s own failure to provide proper
                16      notice and Defendants’ timely “alerting the Court that it intended to file their
                17      Opposition that same day, and did so.” Dkt. No. 57 at 1. That was an example of
                18      good cause for granting leniency and is a far cry from any showing Plaintiff has
                19      made here. It was also yet another example of Plaintiff’s incorrect belief that
                20      Plaintiff need not abide by the same set of rules that Defendants do.
                21               B.       Plaintiff’s Objections to Mr. Skilling’s Opinions Are Better Suited
                                          for Cross-Examination at Trial Rather Than Exclusion.
                22
                23               Turning to the merits of Plaintiff’s motion, Plaintiff presents no basis for
                24      excluding Mr. Skilling’s testimony.
                25               First, Plaintiff argues that Mr. Skilling cannot opine as to positions that are
                26      “substantially similar” to Plaintiff’s former position because the term “substantially
                27      similar” in this context is “a legal term of art that is a question for the jury to decide
                28      . . . .” Dkt. No. 121 at 5:13-15. Federal Rule of Evidence 704(a), however,
MORGAN, LEWIS &
 BOCKIUS LLP                                                                          DEFENDANTS’ OPPOSITION TO
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                    1   expressly states that an “opinion is not objectionable just because it embraces an
                    2   ultimate issue.” FRE 704(a); see also Ramirez, et al. v. Oxnard Police Dept., et al.,
                    3   2015 WL 13916522, at *1 (C.D. Cal. Feb. 6, 2015) (Fitzgerald, J.) (“That Cope’s
                    4   testimony goes to an ultimate issue is not sufficient reason by itself to exclude the
                    5   testimony.”). As the Ninth Circuit has recognized, “it is sometimes impossible for
                    6   an expert to render his or her opinion on a subject without resorting to language that
                    7   recurs in the applicable legal standard.” See U.S. v. Diaz, 876 F.3d 1194, 1198.
                    8   For instance, in Diaz, the Ninth Circuit held that a medical expert did not
                    9   improperly offer opinion testimony as to a legal conclusion by using terms that
                10      appeared in the elements of the federal statute before the jury because those terms
                11      “were used in their ordinary, everyday sense and do not ‘have a separate, distinct
                12      and specialized’ legal significance apart from common parlance.” Id. at 1199.
                13               Here, Plaintiff is seeking an order essentially prohibiting Mr. Skilling from
                14      using the plain English term “substantially similar” according to its ordinary
                15      meaning when referring to other employment opportunities that Plaintiff may have
                16      had. Notably, the term Mr. Skilling actually preferred to use in his expert report
                17      and in his testimony, was “comparable.” Grodan Dec., Ex. A.2 The term
                18      “substantially similar” only arose when Plaintiff’s counsel pressed Mr. Skilling to
                19      opine at his deposition on whether he believed the positions he evaluated were
                20      “substantially similar” to Plaintiff’s former position:
                21                        Q. What's your understanding of your assignment in this matter?
                22                        A. Well, as I stated on page 2 of my report, I was retained to
                                          determine Mr. McMillian's employability and earning capacity and to
                23                        form opinions – [. . .] concerning when, with a reasonably diligent
                                          job search, Mr. McMillian could have found comparable employment
                24                        following the Amazon termination in May 2018.
                25                        [. . .]
                26
                        2
                27        Skilling’s only use of “substantially similar” in his report is on the fourth page,
                        where he uses the common meaning to refer to other positions “involving the same
                28      or substantially similar duties and responsibilities . . . .” Grodan Dec., Ex. A
MORGAN, LEWIS &
                        (emphasis added).
 BOCKIUS LLP                                                                         DEFENDANTS’ OPPOSITION TO
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                    1                     Q. Are you forming an opinion as to whether these other occupations
                                          are substantially similar to Plaintiff's job at Amazon?
                    2
                                          A. Yes, I believe that all of these occupations would be classified as
                    3                     comparable.
                    4                     Q. But are you forming an opinion as to whether these jobs are
                                          substantially similar to those -- to his job at Amazon?
                    5
                                          A. Yes, I believe that they are also substantially similar.
                    6
                    7   Id. ¶ 10, Ex. F at 9:22-10:7, 16:12-24 (objections from counsel omitted). Mr.
                    8   Skilling was testifying as to whether the positions he looked at were “comparable”
                    9   to Plaintiff’s former position. He was not giving a legal conclusion, nor did he
                10      seem to understand “substantially similar” to be what Plaintiff refers to as a “legal
                11      term of art.” It was not until Plaintiff asked Mr. Skilling directly whether he
                12      thought that the positions he described as “comparable” could also be described as
                13      “substantially similar” that Skilling, using the common parlance meaning of that
                14      term, answered affirmatively.
                15               Plaintiff’s motion is an improper attempt to restrict Defendants from
                16      introducing evidence in support of its affirmative defense regarding mitigation of
                17      damages by prohibiting Mr. Skilling from using common English phrases
                18      according to their ordinary meaning. The model jury instruction on mitigation,
                19      CACI 3963, explains to the jury what factors they must consider to determine if
                20      other employment opportunities that Plaintiff did not pursue were “substantially
                21      similar.” Accordingly, the Court should not enter an order restricting Mr. Skilling
                22      from using any common words or phrases when he testifies simply because those
                23      words also appear and carry the same meaning in a jury instruction. See, e.g., 38
                24      Films, LLC v. Yamano, 2017 WL 7038122, at *2 (N.D. Miss. Nov. 6, 2017) (“The
                25      court finds that the plaintiffs’ motion regarding prohibiting Block from giving legal
                26      conclusions, including whether the films are substantially similar, is well taken.
                27      However, the request that Block be prohibited from using the terms ‘substantially
                28      similar’ or ‘probatively similar’ is not granted . . . .”).
MORGAN, LEWIS &
 BOCKIUS LLP                                                                            DEFENDANTS’ OPPOSITION TO
 ATTORNEYS AT LAW
   COSTA MESA
                                                                        9         PLAINTIFF’S MOTION IN LIMINE NO. 3
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                    1            Plaintiff further argues that Mr. Skilling is not even qualified to opine on
                    2   other employment opportunities because he could not testify at his deposition about
                    3   Plaintiff’s work hours, benefits, or rate of pay.3 This information, however, relates
                    4   to only one of six factors on a non-exhaustive list that CACI 3963 provides to
                    5   jurors for considering if other positions were substantially similar. Mr. Skilling’s
                    6   analysis focused more heavily on some of the other relevant factors, such as locality
                    7   and the required skill, background, or experience. Plaintiff’s criticisms of Mr.
                    8   Skilling’s analysis are not a basis for excluding testimony in a motion in limine.
                    9   Instead, these criticisms are more appropriately raised on cross-examination, where
                10      Mr. Skilling can explain why he favored some factors over others in his analysis.
                11      See, e.g., Sunset Landmark Inv., LLC v. Chubb Custom Ins. Co., 2019 WL
                12      4451229, at *5 (C.D. Cal. May 16, 2019) (Fitzgerald, J.) (refusing to exclude
                13      opinions of expert witness under Rule 702 and holding that where a party objects to
                14      conclusions or believes they are “unsupported by the source date,” the party “may
                15      elicit such weaknesses during cross-examination”); Morad v. City of Long Beach,
                16      2018 WL 11352372, at *2 (C.D. Cal. June 15, 2018) (Fitzgerald, J.) (denying
                17      motion in limine to exclude expert testimony and holding that “[t]o the extent
                18      Plaintiffs believe Dr. Melenik failed to consider all relevant facts, they may elicit
                19      such weaknesses during cross-examination”).
                20      IV.      CONCLUSION
                21            For the above reasons, the Court should deny Plaintiff’s motion.
                22      Dated: January 31, 2022                   MORGAN, LEWIS & BOCKIUS LLP
                23                                                     By /s/Alexander L. Grodan
                                                                         Barbara A. Fitzgerald
                24                                                       Ethel J. Johnson
                                                                         Alexander L. Grodan
                25                                                       Attorneys for Defendants
                                                                         GOLDEN STATE FC LLC, et al.
                26
                        3
                27        As to rate of pay, Mr. Skilling correctly assumed that Plaintiff’s “pay would have
                        been $12.50 per hour from May through October of 2018 and $15 per hour starting
                28      in November of 2018.” Grodan Dec. Ex. F at 17:10-13. Plaintiff’s final rate of pay
MORGAN, LEWIS &
                        when his employment ended in May 2018 was $12.50 per hour.
 BOCKIUS LLP                                                                         DEFENDANTS’ OPPOSITION TO
 ATTORNEYS AT LAW
   COSTA MESA
                                                                    10         PLAINTIFF’S MOTION IN LIMINE NO. 3
                        DB2/ 42459947.4                                                 CASE NO. 2:19-CV-2121-MWF
